Case 1:19-cv-01133-LAS Document 109 Filed 11/21/19 Page 1 of 2

IN THE UNITED STATES COURT OF FEDERAL CLAIMS
BID PROTEST

 

DYNCORP INTERNATIONAL LLC,
Plaintiff,

Vv. Case No. 1:19-cv-01133-LAS

THE UNITED STATES OF AMERICA, Judge Loren A. Smith
Defendant,

and

KELLOGG, BROWN & ROOT SERVICES,
INC., VECTRUS SYSTEMS CORPORATION,
FLUOR INTERCONTINENTAL, INC., and
PAE-PARSONS GLOBAL LOGISTICS
SERVICES, LLC,

Intervenor-Defendants.

Nee ee eee wee eee eee eee ee eee ee SS

 

APPLICATION FOR ACCESS TO INFORMATION
UNDER PROTECTIVE ORDER BY OUTSIDE COUNSEL

ly L, Dan L. Bagatell, hereby apply for access to protected information covered by
the Protective Order issued in connection with this proceeding.

c- 1 am an attorney with the law firm of Perkins Coie LLP and have been retained to
represent Kellogg, Brown & Root Services, Inc., a party to this proceeding.

a Tam [ ] am not [x] a member of the bar of the United States Court of Federal
Claims (the court), but I am a member of the bar of the United States Court of Appeals for the
Federal Circuit, where any appeal in this action would be filed.

4. My professional relationship with the party I represent in this proceeding and its
personnel is strictly one of legal counsel. I am not involved in competitive decision making as
discussed in U.S. Steel Corp. v. United States, 130 F.2d 1465 (Fed. Cir. 1984), for or on behalf of
the party I represent, any entity that is an interested party to this proceeding, or any other firm
that might gain a competitive advantage from access to the information disclosed under the
Protective Order. I do not provide advice or participate in any decisions of such parties in matters
involving similar or corresponding information about a competitor. This means that I do not, for
example, provide advice concerning, or participate in decisions about, marketing or advertising
Case 1:19-cv-01133-LAS Document 109 Filed 11/21/19 Page 2 of 2

strategies, product research and development, product design or competitive structuring and
composition of bids, offers, or proposals with respect to which the use of protected information
could provide a competitive advantage.

5. I identify here (by writing "none" or listing names and relevant circumstances)
those attorneys in my firm who, to the best of my knowledge, cannot make the representations
set forth in the preceding paragraph: None.

6. I identify here (by writing "none" or listing names, position, and responsibilities)
any member of my immediate family who is an officer or holds a management position with an
interested party in the proceeding or with any other firm that might gain a competitive advantage
from access to the information disclosed under the Protective Order: None.

7. I identify here (by writing "none" or identifying the name of the forum, case
number, date, and circumstances) instances in which I have been denied admission to a
protective order, had admission revoked, or have been found to have violated a protective order
issued by any administrative or judicial tribunal: None.

8. [Not applicable to outside counsel].

9, I have read the Protective Order issued by the court in this proceeding. I will
comply in all respects with that order and will abide by its terms and conditions in handling any
protected information produced in connection with the proceeding.

10. L acknowledge that a violation of the terms of the Protective Order may result in
the imposition of such sanctions as may be deemed appropriate by the court and in possible civil
and criminal liability.

By my signature, I certify that, to the best of my knowledge, the representations set forth above
(including attached statements) are true and correct.

Zan L. Kapatill November 21, 2019

Dan L. Bagatell, Paftder
Perkins Coie LLP

700 13th Street, NW

Suite 600

Washington, DC 20005-3960
Telephone: 202-654-3327
DBagatell@perkinscoie.com

/s/ Lee P. Curtis November 21, 2019
Lee P. Curtis, Partner and Attorney of Record

Telephone: 202-434-1647

LCurtis@perkinscoie.com
